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UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII

UNITED STATES OF AMERICA,
Plaintiff,
V.

SANDWICH ISLES COMMUNI-
CATIONS, INC., et al.,
Defendants.

Civ. No. 18-145 JMS RT

DECLARATION OF COUNSEL

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I, Miniard Culpepper Jr., pursuant to 28 U.S.C. § 1746, declare as follows:

1. Iam a Trial Attorney at the United States Department of Justice, Civil

Division, Commercial Litigation Branch, Corporate/Financial Litigation Section. |

am licensed to practice law in the State of Massachusetts, and I am one of the

attorneys of record herein for Plaintiff the United States of America (the “United

States” or “Plaintiff’) in this case.
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2. I am over the age of eighteen (18) years, I have personal knowledge of
the matters stated in this declaration and I am fully competent and qualified to
make all statements set forth in this declaration. If called as a witness, I could and
would testify to the truth of the matters stated herein.

3. I submit this Declaration in support of the United States of America’s
Motion for Order Approving Confirmation of Execution Sale (the “Motion’’) in
this case.

4. On February 18, 2020, this Court entered an amended judgment in
favor of the United States against Sandwich Isles in the amount of
$138,557,635.82 (“Judgment”). ECF No. 226.

5. On May 1, 2020, the Clerk of Court issued a Writ of Execution in this
case. ECF No. 260.

6. On May 7, 2020, the United States Marshal for the District of Hawaii
(the “Marshal”’) executed on the property of Sandwich Isles Communications, Inc.
(“Sandwich Isles”), and on May 11, 2020, the Marshal filed a notice on the Court’s
docket. ECF No. 266.

7. On April 22, 2024, the Court entered an Order Approving the United
States of America’s Unopposed Motion for Order Approving Execution Sale
Procedures (“Sale Procedures Order’). The Sale Procedures Order set certain

bidding requirements and required all bidders to submit a bid by 5:00p.m. on May
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13, 2024, to be deemed a “Qualified Bid.”

8. On May 13, 2024, Hawaiian Telcom, Inc. (““HTI’) submitted a bid to
purchase SIC’s conduit system and certain entitlements related to the operation of
the conduits for $500,000. Waimana Enterprises, Inc. (“Waimana”) submitted a
bid to purchase all of SIC’s property for $10,000.

9. On May 20, 2024, at 12:00pm, William Jessup, the Acting U.S.
Marshal for the District of Hawaii (the “Marshal’’), conducted the public execution
sale auction (the “Auction’’) on the steps in front of, and in the lobby of, the United
States Courthouse, 300 Ala Moana Boulevard, Honolulu HI 96850, to sell certain
personal property of Sandwich Isles subject to the Writ of Execution.

10. At the Auction, the Marshal opened bidding at $500,000 for Lot 1, the
assets bid on by HTI. There were no topping bids for Lot 1, and HTI’s bid was
selected as the “Successful Bid” for Lot 1. Waimana’s bid is the “Backup Bid.”

11. The Marshal then opened bidding at $100,000 for Lot 2, the
remaining personal property of Sandwich Isles subject to the Writ of Execution.
No qualified bidder, or other bidder, bid on Lot 2 at the Auction. The Marshal then
closed the Auction.

I declare under penalty of perjury that the foregoing is true and correct.

/s/ jr

MINIARD CULPEPPER JR.

DATED: June 7, 2024

